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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. _____________________

TANIA RODRIGUEZ and FREDIS POSADAS,

       Plaintiffs,

v.

BORINQUEN HEALTH CARE CENTER, INC.,
and DR. PIERRE BERNARD EUGENE,

       Defendants.
                                                   /

                NOTICE OF REMOVAL AND SUBSTITUTION OF PARTY

       Pursuant to 42 U.S.C. § 233(c) and 28 U.S.C. 2679(d)(2), the United States of America files

this Notice of Removal and Substitution of Party and states as follows:

       1. Nature of the Lawsuit

       Plaintiffs Tania Rodriguez and Fredis Posadas filed an action in the Eleventh Judicial Circuit

Court for Miami-Dade County, Florida, entitled Tania Rodriguez v. Borinquen Health Care Center,

Inc., et al., Case No. 2020-018744-CA-01. The United States attaches a copy of the state court

Complaint to this Notice as Exhibit 1.

       Plaintiffs allege that Defendants Borinquen Health Care Center, Inc. (“Borinquen Health”)

and Dr. Pierre Bernard Eugene (“Dr. Eugene”) committed medical negligence in connection with an

April 2018 cesarean section performed on Plaintiff Tania Rodriguez. (See Compl. ¶¶ 13-29.)

       Borinquen Health is a federally funded and federally qualified health center. (See Exhibit 2,

Certification by United States Attorney Ariana Fajardo Orshan.) Dr. Eugene was an employee of

Borinquen Health acting within the scope of his employment when he provided medical care to Ms.

Rodriguez. (Id.) Defendants are therefore employees of the United States, requiring removal of the
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state case to this federal district court. See 42 U.S.C. § 233(c) (requiring removal of medical

negligence state court case against federally qualified health centers and their employees).

       2. Removal of State Court Action

       Plaintiffs sue a federally qualified health center and its employee for medical negligence.

Removal is required under the Federally Supported Health Centers Assistance Acts of 1992 and

1995 (FSHCAA), 42 U.S.C. § 233(c). The FSHCAA provides an exclusive remedy to plaintiffs

alleging medical negligence against a federally supported health care center or its employees. 42

U.S.C. § 233(g)-(n), § 233(a), § 233(c). A plaintiff must bring such claims against the United States

of America in federal district court under the Federal Tort Claims Act. Id.

       The FSHCAA explicitly requires that a medical malpractice case filed in state court against

a federally qualified health center or its employees be removed to federal court. Specifically, 42

U.S.C. § 233(c) states that upon certification of the scope of federal employment, “any such civil

action or proceeding commenced in a State court shall be removed . . . to the district court of the

United States of the district and division embracing the place wherein it is pending.” 42 U.S.C. §

233(c) (emphasis added). Upon certification, the proceeding is “deemed a tort action brought against

the United States under the provisions of Title 28 [the Federal Tort Claims Act] . . . .” Id.

       On February 22, 2021, pursuant to 42 U.S.C. § 233(c), 28 U.S.C. § 2679(d), and 28 C.F.R.

§ 15.4, Ariana Fajardo Orshan, the United States Attorney for the Southern District of Florida,

certified that Borinquen Health was deemed by the Department of Health and Human Services to be

eligible for medical negligence coverage under the Federal Tort Claims Act in 2017, 2018, 2019,

and 2020, and that Dr. Eugene was in the course and scope of his employment when he provided

care to Ms. Rodriguez at the time of the events alleged in the Complaint. (See Ex. 2.)

       Thus, removal is required.



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       3. Venue

       The United States District Court for the Southern District of Florida is the judicial district

embracing the place where the state court action was brought and is pending. Miami-Dade County,

Florida is within the Southern District of Florida. This is the proper district court to which the case

should be removed. 42 U.S.C. § 233(c); 28 U.S.C. § 1442(a).

       4. Timeliness of Notice of Removal

       Pursuant to 42 U.S.C. § 233(c), this removal is timely because the action can be “removed

without bond at any time before trial . . . .” (emphasis added). Further, removal is also timely under

28 U.S.C. § 1446(b).

       5. State Court Pleadings

       Pursuant to 28 U.S.C. § 1446(a), the United States simultaneously files copies of all process,

pleadings, and orders existing on file in state court.

       6. Substitution of the United States as the Federal Party Defendant

       When United States Attorney Ariana Fajardo Orshan signed Exhibit 2, certifying the scope

of federal employment of Defendants, the case became one against the United States under the

Federal Tort Claims Act. See 42 U.S.C. § 233(c) (on certification, action deemed one against the

U.S. under Title 28). The United States is the proper party and is substituted in place of the named

Defendants.

        7.     Consent of other Defendants

       There is no requirement that the United States obtain the consent of other defendants to

remove a case under 42 U.S.C. § 233(c) or 28 U.S.C. §§1442(a)(1), 1446.




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       8.      Conclusion

       For these reasons, pursuant to 42 U.S.C. § 233(c) and 28 U.S.C. 2679(d)(2), the state court

case of Tania Rodriguez v. Borinquen Health Care Center, Inc., et al., Case No. 2020-018744-CA-

01, which was filed on September 1, 2020, in the Eleventh Judicial Circuit Court for Miami-Dade

County, Florida, is removed to this Court. In addition, because § 233(c) deems the proceeding as

one against the United States under the provisions of the Federal Tort Claims Act, the United States

is substituted as the party defendant in place of Defendants Borinquen Health Care Center, Inc. and

Dr. Pierre Bernard Eugene.



DATED: February 22, 2021

                                                     Respectfully submitted,

                                                     ARIANA FAJARDO ORSHAN
                                                     UNITED STATES ATTORNEY

                                                     By:    Latoya C. Brown
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2021, I electronically filed the foregoing document using

CM/ECF, and that the foregoing document is being served on counsel of record identified on the

attached Service List by First class mail.

                                                      /s/ Latoya C. Brown
                                                      Latoya C. Brown, AUSA



                                             SERVICE LIST

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